                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )                 3:12-CR-239
                                    )
         vs.                        )
                                    )                 ORDER
JOHN WAYNE PERRY, JR. (11)          )
____________________________________)

                                     I. INTRODUCTION

       THIS MATTER is before the Court on Defendant’s Motion to Dismiss the Indictment

(Doc. No. 272) and Memorandum in Support (Doc. No. 272-1), the United States’ Memorandum

in Opposition (Doc. No. 282), and Defendant’s Reply (Doc. No. 293). The Court conducted a

hearing on this matter on December 16, 2013. For the reasons stated below, Defendant’s Motion

is DENIED.

                                     II. BACKGROUND

       On July 26, 2012, a Grand Jury charged Defendant John Wayne Perry, Jr. and a number

of co-conspirators in a seventy-five page Bill of Indictment. Defendant Perry was charged with

one count of racketeering conspiracy in violation of Title 18 U.S.C. § 1962(d) and one count of

money laundering conspiracy in violation of Title 18 U.S.C. § 1956(h). On April 18, 2013, the

Grand Jury returned a Superseding Indictment, now eighty-four pages long, which describes the

nature of an alleged $75 million RICO enterprise that operated from 2005 until 2012. Included in

the Indictment are some twenty-six examples of different mortgage fraud transactions which

allegedly took place over the course of these years, one of which specifically mentions

Defendant Perry.



                                                1

      Case 3:12-cr-00239-GCM           Document 436       Filed 12/20/13      Page 1 of 8
                                         III. DISCUSSION

    In his Motion to Dismiss, Defendant argues (1) that the Government has failed to adequately

allege a conspiracy in either count or to adequately allege the elements of the charged offenses in

either count; (2) that the counts alleged are duplicitous; and (3) that the counts alleged were

indicted outside the applicable statute of limitations. The Court addresses each of the arguments

in turn.

    A. Count One

    Defendant asserts that Count One, which alleges a racketeering conspiracy, fails to

adequately allege that Defendant was implicated in such a conspiracy. In his Reply, Defendant

acknowledges that there is no requirement that a defendant know all the members of the

conspiracy or the full details of the conspiracy, but argues that he must at least know there is an

enterprise and must act to further its affairs, and that the Indictment fails to adequately allege this

piece of the puzzle. (Doc. No. 293 at 2).

    As a preliminary matter, the Supreme Court has held that an indictment is sufficient if it

“contains the elements of the offense intended to be charged, and sufficiently apprises the

defendant of what he must be prepared to meet.” Russel v. United States, 369 U.S. 749, 763-64

(1962) (internal quotations omitted). Thus, the indictment must “set forth the essential elements

of the offense.” United States v. Izuogu, No. 90-5778, 1991 WL 21653, at *3 (4th Cir. 1991). On

a motion to dismiss the indictment, the Court is not to weigh the sufficiency of the evidence. See

United States v. Todd, 446 F.3d 1062, 1068 (10th Cir. 2006). Rather, the question before the

Court is “solely whether the allegations in the indictment, if true, are sufficient to establish a

violation of the charged offense.” Id.




                                                   2

       Case 3:12-cr-00239-GCM            Document 436         Filed 12/20/13      Page 2 of 8
   The elements of a criminal conspiracy violation under 18 U.S.C. § 1962(d) are (1) the

existence of an enterprise; (2) that the enterprise was engaged in or its activities affected

interstate commerce; and (3) that each defendant knowingly agreed that a conspirator would

commit a violation of 18 U.S.C. § 1962(c). See United States v. Salinas, 522 U.S. 52, 62-65

(1997). The elements of a substantive RICO offense under U.S.C. § 1962(c) are “(1) the conduct

(2) of an enterprise (3) through a pattern of racketeering activity.” Id. at 62. A “pattern of

racketeering activity” requires at least two acts of racketeering activity. See id. However, the

defendant need not himself commit or agree to commit the predicate acts—rather, he need only

agree to advance a RICO undertaking. See id. at 65 (“A conspirator must intend to further an

endeavor which, if completed, would satisfy all of the elements of a substantive criminal offense,

but it suffices that he adopt the goal of furthering or facilitating the criminal endeavor.”).

   The Indictment alleges at least that much. Sections One and Two of the Indictment lay out

the general function and purpose of the alleged enterprise. Section Three identifies the roles of

particular members of the alleged enterprise, including this Defendant. Section Five details the

specific objectives of the enterprise. Count One specifically alleges that those named, including

Defendant Perry:

       knowingly and intentionally conspired to violate 18 U.S.C. § 1962(c), that is, to
       conduct and participate, directly or indirectly, in the conduct of the affairs of the
       Enterprise, through a pattern of racketeering activity . . . .

(Doc. No. 158 ¶ 394). It continues: “It was part of the conspiracy that the defendants agreed that

a conspirator would commit at least two acts of racketeering activity in the conduct of the affairs

of the Enterprise.” (Id. ¶ 395). In support, the Indictment alleges specific transactions undertaken

in furtherance of the conspiracy in Section Six, one of which involves Defendant Perry. (Id. ¶¶

321-26). Therein, the Indictment specifically alleges that Defendant Perry, along with others,


                                                  3

       Case 3:12-cr-00239-GCM            Document 436         Filed 12/20/13      Page 3 of 8
fraudulently caused the loan package and HUD-1 statement for the purchase of a home to

contain false and fraudulent misrepresentations for the purpose of inflating the price of the home

and obtaining hidden kickbacks. (Id.) It alleges that a payment of $219,420 was paid to the

company Perry Masonry Construction for brickwork that was never completed, and that those

funds were later disbursed in various transactions by Defendant Perry and another defendant as

kickbacks. (Id.) These allegations, if true, would implicate the Defendant in a number of acts of

wire fraud and money laundering completed cooperatively with other defendants, some of whom

were involved in numerous other fraudulent and very similar transactions. This is sufficient to

adequately allege a criminal conspiracy violation under 18 U.S.C. § 1962(d).

   Defendant argues that even if he was implicated in one discreet transaction, that does not

merit his being implicated in the larger RICO conspiracy. In support, Defendant argues that the

Indictment must at least establish that he knew the general nature of the conspiracy and knew

that it extended beyond his individual role. In Count One, the Indictment alleges precisely that.

(See id. ¶ 394 (noting that Defendant “knowingly and intentionally conspired to violate 18

U.S.C. § 1962(c) . . . [by agreeing to] participate, directly or indirectly, in the conduct of the

affairs of the Enterprise.”)). Moreover, the allegations of specific conduct implicating Defendant

create a reasonable inference, if true, that Defendant knew there was a conspiracy, knew its

general manner of operating, and knew that it extended beyond his individual role. Thus, Count

One of the Indictment is sufficiently pled.

   B. Count Five

   The essential elements of a charge of money laundering conspiracy in violation of 18 U.S.C.

1956(h), as alleged in Count Five, are “(1) the existence of an agreement between two or more

persons to commit one or more of the substantive money laundering offenses proscribed under


                                                   4

       Case 3:12-cr-00239-GCM            Document 436         Filed 12/20/13       Page 4 of 8
18 U.S.C. § 1956(a) or § 1957; (2) that the defendant knew that the money laundering proceeds

had been derived from an illegal activity; and (3) the defendant knowingly and voluntarily

became part of the conspiracy.” United States v. Green, 599 F.3d 360, 371 (4th Cir. 2010).

Defendant argues that the Government is required to allege that he possessed “full knowledge of

the conspiracy’s general purpose and scope,” United States v. Huggans, 650 F.3d 1210, 1222

(8th Cir. 2011), and that it did not. But Count Five of the Indictment alleges that Defendant and

others

         did knowingly combine, conspire, confederate, and agree with each other and
         others . . . to commit offenses against the United States . . . which involved the
         proceeds of a specified unlawful activity, with the intent . . . to conceal and
         disguise in whole or in part the nature, location, source, ownership, and control of
         the proceeds . . . .

(Doc. No. 158 ¶¶ 402-03). Moreover, the specific conduct mentioned in Section Six alleges that

Defendant agreed to participate in, and participated in, a number of money laundering

transactions with other members of the conspiracy, and that he knew that the funds involved had

been obtained through fraud. This is sufficient to adequately allege a charge of money laundering

conspiracy.

   C. Duplicity

   Defendant alleges that both Count One and Count Five are duplicitous because they lump

multiple conspiracies into one count. Duplicity is “the joining in a single count of two or more

distinct and separate offenses.” United States v. Burns, 990 F.2d 1426, 1438 (4th Cir. 1993) and

is generally not permitted. However, separate acts that could be charged as separate counts may

be charged as a single count if those acts were part of a single, continuing scheme. If the

indictment alleges a continuing course of conduct during a discrete period of time, it is not

prejudicially duplicitous. See United States v. Kamalu, 298 F. App’x 251, 254 (4th Cir. 2008).


                                                  5

         Case 3:12-cr-00239-GCM          Document 436        Filed 12/20/13      Page 5 of 8
   As to Count One, the Government points out that courts have consistently rejected duplicity

arguments in the context of RICO—so long as the various offenses listed are “merely descriptive

of the single overall agreement” to participate in a racketeering enterprise—because such a

charge contemplates a pattern of unlawful activity. See, e.g., United States v. Diecidue, 603 F.2d

535, 546 (5th Cir. 1979). Indeed, in the context of RICO, “it is irrelevant that each defendant

participated in the enterprise’s affairs through different, even unrelated crimes, so long as we

may reasonably infer that each crime was intended to further the enterprise’s affairs.” United

States v. Elliott, 571 F.2d 880, 902-03 (5th Cir. 1978). For the reasons described supra, the

Government has adequately alleged that the separate acts committed by defendants were part of a

larger scheme to advance the enterprise’s affairs. See supra Part A. Thus, Count One of the

Indictment is not duplicitous.

   Count Five also alleges a continuing course of conduct. As discussed above, the Indictment

alleges that Defendant agreed to participate in a series of money laundering transactions that was

part of one larger scheme. While the Indictment does list numerous examples of money

laundering in support of the allegations therein, this does not immediately invite the conclusion

that these transactions were distinct and not part of the larger scheme specifically alleged in

Count Five. In short, “[t]he lesser participation of one defendant, or his participation in only one

facet of a multi-faceted conspiracy, does not warrant the conclusion that an indictment is

defective for the improper allegation of multiple conspiracies in a single count.” United States v.

Alexander, 736 F. Supp. 968, 995 (D. Minn. 1990). Because Count Five of the Indictment alleges

a continuing course of conduct, it is not duplicitous.




                                                  6

       Case 3:12-cr-00239-GCM           Document 436        Filed 12/20/13       Page 6 of 8
    D. Statute of Limitations

    Defendant also argues that Counts One and Five were indicted outside the statute of

limitations, which he argues is five years for these offenses. Because the Superseding Indictment

was returned on April 18, 2013, he argues, these counts were indicted outside the statute of

limitations. He notes further that the Superseding Indictment does not relate back to the original

Indictment (returned July 26, 2012) in this case because it “substantially amends charges made in

the first” Indictment. (Doc. No. 272-1 at 17).

    The Government responds that, with respect to Count One, because one of the predicate acts

in the alleged racketeering conspiracy is bank fraud in violation of 18 U.S.C. § 1344, the statute

of limitations is ten years, not five. 18 U.S.C. § 3293(3). The Government is correct. At any rate,

and with respect to Count Five, the Government argues that the Superseding Indictment clearly

relates back to the original Indictment because it did not substantially amend the charges. With

respect to Count Five, the Superseding Indictment simply (1) removed the names of the

Defendants who had pled guilty and (2) changed the time period of the conspiracy to be “from in

or about 2005 through in or about the present” in the original Indictment to “from in or about

2005 to in or about 2012.” The original Indictment was returned in 2012. Also, the background

paragraphs that mention Defendant and his alleged role in the conspiracy did not change. The

Court agrees that these changes do not constitute substantial amendments to the Indictment such

that it should not relate back to the original.




                                                  7

       Case 3:12-cr-00239-GCM            Document 436       Filed 12/20/13     Page 7 of 8
                                     IV. CONCLUSION

  For the foregoing reasons, Defendant’s Motion to Dismiss the Indictment (Doc. No. 272) is

DENIED.

  SO ORDERED.


                                    Signed: December 20, 2013




                                              8

    Case 3:12-cr-00239-GCM          Document 436           Filed 12/20/13   Page 8 of 8
